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February 5, 2020                                                                        ·~\J\)                                    Peter G. Neiman

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The Honorable Colleen McMahon
United States District Court
  for the Southern District of New York
500 Pearl Street
New York, New York 10007

          Re: United States v. Michael Carroll, et al., No. 19-cr-545 (CM)
                                                                                                               OK
Dear Chief Judge McMahon:                                                                                                   ~)HJ_
This firm represents Michael Carroll in the above-referenced matter. Pursuant to Rule V.E of the
Court's Individual Practices and Procedures, we write to respectfully request leave to file an
omnibus reply, in excess of 10 pages, in support of Mr. Carroll's Motion to Dismiss the
Indictment, ECF No. 55; Motion for a Bill of Particulars, ECF No. 52; Motion to Compel
Discovery, ECF No. 43; and Motion to Compel Production of Brady Materials, ECF No. 58. Mr.
Carroll intends to submit one reply addressing these four motions, and thus requests up to 25

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